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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          2:11-CR-00449-KJM
12                  Plaintiff,
                                                        PRELIMINARY ORDER OF
13          v.                                          FORFEITURE
14   BRIAN J. PICKARD, ET AL.,
15                  Defendants.
16

17           Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Brian J. Pickard, it is hereby ORDERED, ADJUDGED, AND DECREED as follows:

19          1.      Pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), 21 U.S.C. § 853(a), and Fed. R.

20 Cr. P. 32.2(b), defendant Brian J. Pickard’s interest in the following property shall be condemned and

21 forfeited to the United States of America, to be disposed of according to law:

22                  a.      A Mossburg, Model 500A 12-gauge shotgun, serial number T183783;
                    b.      All ammunition for the aforementioned firearm;
23                  c.      Silver in the approximate weight of 263 ounces;
                    d.      Gold in the approximate weight of one ounce; and
24                  e.      A money judgment in the mount of $25,000.00.
25          2.      The above-listed property constitutes or is derived from proceeds obtained, directly or

26 indirectly, as a result of a violation of 21 U.S.C. §§ 841(a)(1) and 846, or was used, or intended to be

27 used to commit or to facilitate the commission of a violation of 21 U.S.C. §§ 841(a)(1) and 846. The

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                                                                                      Preliminary Order of Forfeiture
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 1 above-listed firearm and ammunition were involved in or used in the knowing commission of a violation

 2 of 18 U.S.C. § 922(g)(1).

 3          3.      Defendant Brian J. Pickard shall pay the $25,000.00 money judgment on or before

 4 sentencing. Payment should be made in the form of a cashier’s check made payable to the U.S.

 5 Marshals Service and sent to the U.S. Attorney’s Office, Att: Asset Forfeiture Unit, 501 I Street, Suite

 6 10-100, Sacramento, CA 95814. Prior to the imposition of sentence, any funds delivered to the United

 7 States to satisfy the personal money judgment shall be seized and held by the U.S. Marshals Service, in

 8 its secure custody and control.

 9          4.      Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

10 seize the above-listed property. The aforementioned property shall be seized and held by the U.S.

11 Marshals Service, in its secure custody and control.

12          5.      a.      Pursuant to 21 U.S.C. § 853(n), 28 U.S.C. § 2461(c) and Local Rule 171, the

13 United States shall publish notice of the order of forfeiture. Notice of this Order and notice of the

14 Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

15 General may direct shall be posted for at least 30 consecutive days on the official internet government

16 forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct

17 written notice to any person known to have alleged an interest in the property that is the subject of the

18 order of forfeiture as a substitute for published notice as to those persons so notified.

19                  b.      This notice shall state that any person, other than the defendant, asserting a legal

20 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

21 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

22 within thirty (30) days from receipt of direct written notice, whichever is earlier.

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                                                                                          Preliminary Order of Forfeiture
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 1          6.     If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

 2 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), 21 U.S.C.

 3 § 853(a), and Fed. R. Cr. P. 32.2(b), in which all interests will be addressed.

 4          SO ORDERED this 25th day of March, 2016.

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 7                                                             UNITED STATES DISTRICT JUDGE

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